        Case 3:21-cv-00578-SDD-EWD          Document 10      12/20/21 Page 1 of 1




                             UNITED STATES DISTRICT COURT

                             MIDDLE DISTRICT OF LOUISIANA


UZIEL AMAYA and                                   CIVIL ACTION NO. 21-578-SDD-EWD
FERNANDO HERRERA

VERSUS

MKT CONSTRUCTION, LLC, MK SIMMONS
CONSTRUCTION, LLC and
DORIS CORRALES

                                          ORDER

       Upon consideration of Plaintiffs’ Notice of Voluntary Dismissal Pursuant to FRCP

41(a)(1)(A)(i) filed prior to the filing of an answer or motion for summary judgment by any

defendant in this matter, it is hereby

       ORDERED that this action is dismissed, without prejudice.

       Signed at Baton Rouge, Louisiana, this ______
                                              20th day of December, 2021.




                                            S
                                           _________________________________________
                                           JUDGE, United States District Court
                                           Middle District of Louisiana
